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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

                   Plaintiff,
             v.
                                                    Case No. 19-cr-285 (EGS)
REUBEN NWENZE,

                   Defendant.


                   RESPONSE TO GOVERNMENT’S MOTION


      On August 27, 2020, this Court ordered the District of Columbia Department

of Corrections (DOC) to “file a weekly Status Report updating the Court and

Defendant's counsel regarding Mr. Nwenze's recovery. . . .” See Min. Order (Aug. 27,

2020). Mr. Nwenze, through counsel, respectfully requests the Court leave the order

in place. Alternatively, Mr. Nwenze requests the Court amend the order to have

DOC file updated information on Mr. Nwenze’s health twice a month.

      Mr. Nwenze is still recovering from the multiple stab wounds he suffered just

two months ago. Indeed, just a week ago, Mr. Nwenze “complained of shortness of

breath and chest pain.” See ECF No. 57 (Status Report). Notwithstanding the

government’s assertions, there are still questions regarding Mr. Nwenze’s medical

care. Specifically, on September 18, Mr. Nwenze was referred for an echocardiogram

due to “irregularities in the electrocardiogram results.” See ECF No. 52 (Status

Report). That, however, has yet to be done. The government attempts to dismiss

this by stating that Mr. Nwenze was scheduled for an echocardiogram on October

20, but that he simply “did not appear for that appointment.” See ECF No. 57. This,

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of course, ignores the fact that Mr. Nwenze cannot just simply walk out of his cell to

attend medical appointments, and must instead be brought over by DOC staff. It is

up to DOC to ensure Mr. Nwenze is available for his necessary medical

appointments.

      Contrary to the government’s position, this is not a civil suit where Mr.

Nwenze is seeking a specific relief. Mr. Nwenze simply requests that DOC maintain

the adequate medical treatment he is entitled to under the Eighth Amendment, and

keep the Court and defense counsel apprised of their efforts.

                                              Respectfully submitted,

                                              A. J. Kramer
                                              Federal Public Defender

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                                              Jose A. German
                                              Assistant Federal Public Defenders
                                              625 Indiana Ave NW, Suite 550
                                              Washington, D.C. 20004
                                              (202) 208-7500




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